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IN THE UNITED STATES I)ISTRICT COURT
FOR THE ]]ISTRICT OF MARYLAND

NORTHERN DIVISION
AZARI ALMUTAIRI
AHMAD A. ALMUTAIRI
Block 6, Street, House 2
Mishref, Kuwait
Plaintiffs,
CASE NO.

lv.

THE JOHNS H()PKINS HEALTH
SYSTEM CORPORATION

601 North Broadway

Baltimore, MD 21205

SERVE ON: Resident Agent
Joanne E. Pollack, Esquire
600 North Wolfe Street
Administration Bldg., 414
Baltimore, MD 21205

and

THE JOHNS H()PKINS HOSPITAL,
INC., d/b!a THE JOHNS HOPKINS
HOSPITAL

601 North Broadway

Baltimore, MD 21205

SERVE ON: Resident Agent
Joanne E. Pollack, Esquire
600 North Wolfe Street
Administration Bldg., 414
Baltimore, MD 21205

and

THE JOl-INS H()PKINS UNIVERSITY
3400 North Charles Street
Baltimore, MD 21218

 

 

Removedfrom the Cz'rcuit Cour!for Ba]rimore
C£`ty, Case No. 24-C-15-004722

 

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SERVE ON: Resident Agent
Mark Rotenberg
General Counsel
3400 N. Charles Street
Baltimore, MD 21218

and

JOHNS HOPKINS BAYVIEW MEI)ICAL
CENTER, INC., dfb/a JOHNS HOPKINS
BAYVIEW MEDICAL CENTER

4940 Eastern Avenue

Baltimore, MD 21224

SERVE ON: Resident Agent
Joanne E. Pollack, Esquire
BRB 102
Johns Hopkins Health System
Corporation
733 North Broadway
Baltimore, MD 21205

and

MAHMOUD MALAS, M.D.

.Iohns Hopkins Bayview Medical Center
4940 Eastern Avenue

Baltimore, MD 21224

and

THOMAS REIFSNYDER, M.D.

Johns Hopkins Bayview Medical Center
4940 Eastern Avenue

Baltimore, MD 21224

and

JOHNS HOPKINS COMMUNITY
PHYSICIANS, INC., and!or JOHNS
HOPKINS COMMUNITY PHYSICIANS
3100 Wyman Park Drive

Baltimore, MD 21211

 

 

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SERVE ON: Resident Agent
Joanne E. Pcllack, Esquire
600 North Wolt`e Street
Administration Bldg. 414
Baltimore, MD 21205

Defendants.

 

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1441 and 1446, The Johns Hopkins Health Systeln, Corp., The
Johns Hopkins Hospital, lnc., The Johns Hopkins University, Johns Hopkins Bayview Medical
Center, Inc., and Johns Hopkins Comrnunity Physicians, Inc., (“the Johns Hopkins Defendants”),
as well as Mahmoud Malas, M.D. and Thomas Reifsnyder, M.D. (the “Physician Defendants”)
(collectively, the Johns Hopkins Defendants and the Physician Defendants are referred to as
“Removing Det`endants”), hereby remove the action entitled Almumfrf, et. al. v. Tke Johns
Hopkins Healfh Sj/stem Corp., Case No. 24~C-15~4722 from the Circuit Cout't for Baltimore
City, Maryland.

STATEMENT OF GROUNDS FOR REMOVAL
I. Background

l. On September 14, 2015, Plaintiffs Azari Almutairi and Ahmad A. Almutairi tiled
a Complaint in the Circuit Court for Baltimore City, Maryland. (See Exhibit A, Complaint.)

2. Plaintit`i`s claim that the Removing Det`endants were negligent in the intra-
operative and post-surgical management of Plaintiff Azari Almutairi. They further allege that, as
a result of Removing Defendants’ negligence, Mrs. Almutairi underwent numerous surgical
interventions, including amputation of her right leg, which resulted in, among other alleged
injuries, past medical expenses, future medical expenses, the need for future medical services

and equipment, disfigurement, mental anguish, loss of earnings, and diminished earning

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capacity. Plaintiffs also claim that Mrs. Almutairi’s condition resulted in, inter alia, “great
mental anguish and financial burden” to Plaintiff Ahmad Almutairi. (Cornpl. 11 53.)
II. .Iurisdictinnal Basis for Removal

A. The Court Has Diversity Jurisdiction Over This Removed Action
Pursuant to 28 U.S.C. § 1332.

3. Pursuant to 28 U.S.C. § 1332, the United States District Court has jurisdiction
over this action because it is between citizens of different states and the amount in controversy is
greater than $'}'5,000, exclusive of interest and costs. 'I`hus, this action could have originally
been filed in this Court.

i. Diversit_i,;_ of Citizenship

4. Plaintiffs are citizens of Kuwait.

5. The Johns Hopkins Defendants are incorporated in Maryland, With their principal
places of business in Baltimore, Maryland. Therefore, they are citizens of Maryland. The
Physician Defendants are residents and citizens of Maryland.

ii. Amount in Controversy

6. Based on Plaintiffs’ allegations, the Complaint seeks unspecified damages that
will exceed $75,000.

III. Procedural Requirements for Removal

7. None of the Removing Defendants has been served at the time of removai. Upon
information and belief, no summons has been issued for Removing Defendants. (See Ex. B,
Case Information Report dated September 22, 2015 from Maryland Judiciary Case Search.)
Accordingly, this Notice of Removal is timely pursuant to 28 U.S.C. § l446(b). See Robertson
v. Iulz'ano, Civ. No. RDB 10-1319, 2011 WL 453618 (D. Md. Feb. 4, 2011) (forum defendant

rule does not apply when forum defendant has not been served); Al-Ameri` v. Johns Hopkfns

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Hospiral, Case No. 15-cv-l 163-GLR (D. Md. Jun. 24, 20]5), ECF No. 23l (denying motion to
remand in medical malpractice action where the forum defendant was not served before the time
of removal).

8. This action is being removed “to the district court of the United States for the
district and division embracing the place where such action is pending” under 28 U.S.C. §
l441(a). The United States District Court for the District of Maryland, Northem Division
embraces Baltimore City, Maryland. See 28 U.S.C. § 100(1).

9. Removing Defendants are filing written notice of this removal with the Clerk of
the Circuit Court of Baltimore City pursuant to 28 U.S.C. § l446(d). (See Exhibit D, Notice of
Filing of Notice of Removal.) A copy of Removing Defendants’ Notice of Filing of Notice of
Removal, together with this Notice of Removal, are being served upon Plaintiff`s pursuant to 28
U.S.C. § 1446(d).

10. Removing Defendants have not been served to date. As such, there are no
“process, pleadings and orders” to attach pursuant to 28 U.S.C. § 1446.

WHEREFORE, the action filed in the Circuit Court for Baltimore City, Maryland is
removed to this Court, no further proceeding shall he had in the Circuit Court for Baltimore City.

Respectful]y submitted,

fs/ M. Pegm) Chu
K. Nichole Nesbitt, Fed. Bar. No. 26137
M. Peggy Chu, Fed. Bar. N_o. 18507
Goodell, DeVries, Leech & Dann, LLP
One South Street, 20th Floor

Baltimore, Maryland 21202
T: (410) F!83-4000 F: (410) 783-4040

knn dldlaw.com

pchu@gdldlaw.com
Attcrneys for Defendants

 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 22nd day of Septemher 2015, a copy of the foregoing

was sent via first class mail, postage prepaid to:

Howard A. Janet

Giles H. Manley

Jason B. Perm

Janet, Jenner & Suggs, LLC

1'}*"}'7 Reisterstown Road, Suite 165
Baltimore, MD 21208
Attorneysjbr Plaintr`fjis'

fs/ M. Peggv Chu
M. Peggy Chu-

4836-7930-2439, v. l

